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   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                   Plaintiff,          PLAINTIFF’S OPENING BRIEF IN
                                           SUPPORT OF MOTION FOR
  14          v.                           PARTIAL SUMMARY JUDGMENT
  15   THRIVE CAUSEMETICS, INC.,           Hon. Percy Anderson
  16                   Defendant.          Hearing Date: September 13, 2021
                                           Time: 1:30 p.m.
  17                                       Courtroom: 9A
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                                                                 PLAINTIFF’S MEMO ISO MTN.
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   1   I.     Introduction
   2          This is a straightforward case of trademark infringement.
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  14        Plaintiff’s skincare face cleanser on left; Defendant’s skincare face cleanser on right.

  15          Plaintiff Thrive Natural Care, Inc. (“Thrive”) sells THRIVE-branded
  16   skincare products. It has registered and incontestable trademarks for the word mark
  17   “THRIVE” for skincare lotions and cleansers with a priority date of 2012. Thrive
  18   has built a successful brand selling its skincare products via e-commerce on
  19   Amazon.com, Walmart.com, and its own website, as well as at Whole Foods stores.
  20          Defendant Thrive Causemetics, Inc. (“TCI”) was founded in 2014 to sell
  21   false eyelashes and color cosmetics (makeup) to women undergoing cancer
  22   treatment. TCI knew since 2015 of Thrive’s senior trademark rights and knew
  23   Thrive’s trademark blocked TCI from expanding into skincare. In 2016, TCI’s
  24   founder asked permission from Thrive to use the THRIVE mark on color
  25   cosmetics, but Thrive denied her request. In 2017, TCI told Thrive that there was
  26   no conflict between the two companies because TCI only sold makeup, not skincare
  27   products like Thrive. But just one year later, in 2018, TCI began selling its own
  28   THRIVE-branded skincare products in direct competition with Thrive. The goods
                                                                               PLAINTIFF’S MEMO ISO MTN.
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   1   sold and brands used are virtually identical: Thrive’s “THRIVE” skincare versus
   2   TCI’s “THRIVE causemetics” skincare.
   3         Knowing it was infringing, TCI tried yet again in 2019 to get Thrive’s
   4   permission to use the THRIVE mark for TCI’s business. The companies’ CEOs
   5   even discussed a potential licensing arrangement. Instead of pursuing the license,
   6   TCI chose to keep infringing—broadly expanding its skincare line from one
   7   skincare product in 2018 to over a dozen in 2020. TCI has now, without any
   8   license, spent millions of dollars on misleading ads wrongfully tying the
   9   “THRIVE” mark to TCI’s new skincare line and has sold over $20 million of
  10   infringing THRIVE-branded skincare products. TCI’s intentional infringement has
  11   caused actual consumer confusion and damaged Thrive. There is no genuine
  12   dispute of material fact that would prevent summary judgment in Thrive’s favor on
  13   (a) infringement liability, (b) willful infringement, (c) disgorgement of TCI’s
  14   profits, (d) corrective advertising damages, and (e) a permanent injunction.
  15 II.     Background
  16         A.     Thrive’s THRIVE-Branded Skincare Business
  17         Thrive has used the brand name “THRIVE” (the “THRIVE Mark”) on
  18   skincare products continuously since 2013. SUF ¶¶ 1-2.1 Today, Thrive sells a
  19   range of skincare products, including lotions, creams, cleansers, moisturizers, and
  20   sunscreens—all under the THRIVE brand. SUF ¶¶ 3, 7. Thrive sells its products
  21   online at www.thrivecare.co and through retail partnerships with Amazon and
  22   Walmart.com, and at physical Whole Foods retail stores. SUF ¶ 6. Thrive targets a
  23   unisex audience, selling items such as beard oil to men but also focusing on the
  24   female market for items like sunscreen, cleansers, and moisturizers. SUF ¶ 10.
  25   Women have always formed a sizable part, and in recent years the majority, of
  26   Thrive’s customer base. Id.
  27   1
        Citations to “SUF” refer to Plaintiff’s Statement of Uncontroverted Facts and
  28   Conclusions of Law.
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   1         Thrive is known for selling high-quality organic skincare products and for
   2   sourcing ingredients from farmers in Costa Rica, who use regenerative agriculture
   3   methods to cultivate native plants while improving the livelihoods of farming
   4   communities. SUF ¶ 11. Thrive has gained a reputation for being on the leading
   5   edge of healthy, natural, sustainable skincare. SUF ¶¶ 11-13. Thrive has received
   6   substantial media coverage of its company and brand. Id.
   7         B.     Thrive’s Registered THRIVE Trademarks
   8         Thrive holds two registered trademarks for “THRIVE” in standard characters
   9   in relation to skincare products in International Class 03. The first, Registration No.
  10   4,467,942 (the ’942 Registration”), was registered January 14, 2014, from an
  11   application filed September 11, 2012. SUF ¶ 14. The ’942 Registration has been
  12   deemed “incontestable” by the U.S. Patent & Trademark Office (“PTO”). SUF ¶
  13   15. The second, Registration No. 6,164,303 (the “’303 Registration”; together with
  14   the ’942 Registration, the “THRIVE Registrations”), was registered on September
  15   29, 2020, from an application filed May 2, 2016. SUF ¶ 16.
  16         C.     TCI Expands from Color Cosmetics to Skincare with Knowledge
                    of Thrive and the THRIVE Registration
  17

  18         Karissa Bodnar founded TCI in or about August 2014, initially selling false
  19   eyelashes and later color cosmetics (makeup) under the THRIVE CAUSEMETICS
  20   brand. SUF ¶ 19. TCI knew of Thrive by summer 2015, when TCI obtained a
  21   trademark clearance search report identifying Thrive’s ’942 Registration as a
  22   conflict with TCI’s potential THRIVE CAUSEMETICS application. SUF ¶ 20.
  23         In November 2015, the PTO rejected an application by TCI to register
  24   THRIVE CAUSEMETICS, citing a likelihood of confusion with Thrive’s
  25   senior ’942 Registration. SUF ¶ 22. Attempting to sidestep this issue, in April 2016
  26   Ms. Bodnar emailed Thrive and asked for permission to use the THRIVE Mark as
  27   part of TCI’s brand name. SUF ¶ 26. Ms. Bodnar identified TCI as “a color
  28   cosmetics brand with a mission to help women going through cancer treatment look
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   1   and feel better during their time of need.” Id. She promised never to “use the word
   2   ‘Thrive’ without the word ‘Causemetics’. . . .” Id. She did not disclose the PTO’s
   3   rejection of TCI’s trademark or that—by April 2016—TCI had already developed
   4   plans to expand from color cosmetics into the skincare market. SUF ¶¶ 23, 26.
   5         Thrive’s co-founder, Alex McIntosh, denied Ms. Bodnar’s request to use the
   6   THRIVE Mark. SUF ¶ 27. Thrive chose not to pursue the issue further at that time
   7   because it assumed that TCI would abide by Thrive’s denial. Id. TCI then
   8   convinced the PTO to withdraw its rejection on the basis of Thrive’s ’942
   9   Registration by arguing that TCI’s color cosmetics were “distinctly different types
  10   of consumer goods” than Thrive’s skincare products. SUF ¶¶ 24-25.
  11         Thrive sent a cease-and-desist letter to TCI on March 3, 2017, in response to
  12   Thrive learning that TCI had gone forward with its use of the THRIVE Mark
  13   despite Thrive’s 2016 denial and because TCI had begun to emphasize the term
  14   “THRIVE” in TCI’s branding. SUF ¶ 29. TCI rejected the demand to stop using the
  15   name THRIVE on its products and argued again that the parties sold “different
  16   product lines” (makeup vs. skincare products). Id. Thrive relied on this assertion by
  17   TCI, concluding that as long as TCI stayed in its own lane of makeup and was not
  18   in the skincare market, there was no dispute to litigate. Id. But in 2018, TCI erased
  19   that distinction and moved into the skincare market. SUF ¶ 36. TCI quietly sold
  20   three skincare products through 2019 without telling Thrive. SUF ¶ 37. In 2020,
  21   Thrive learned of TCI’s entrance into the skincare market when TCI dramatically
  22   expanded its skincare line, releasing more than a dozen new products and officially
  23   announcing its separate skincare line. Id.
  24         That dramatic expansion came after a second attempt by TCI’s founder, Ms.
  25   Bodnar, to obtain permission from Thrive to use the THRIVE Mark. On June 27,
  26   2019—following the PTO’s rejection of TCI’s second application to register
  27   THRIVE CAUSEMETICS due to a likelihood of confusion with both THRIVE
  28   Registrations—Ms. Bodnar called Thrive’s co-founder, Mr. McIntosh. SUF ¶¶ 31-
                                                                       PLAINTIFF’S MEMO ISO MTN.
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   1   35, 40. Ms. Bodnar begged Thrive to allow TCI to use the “THRIVE” name. SUF ¶
   2   40. Mr. McIntosh refused her request, pointed out that TCI’s request would be
   3   confusing to consumers and retailers, and reminded Ms. Bodnar about Thrive’s
   4   trademark registrations. Id. Mr. McIntosh stated that, for there to be any agreement,
   5   TCI must at a minimum (1) stop emphasizing the word “Thrive” as compared to
   6   “Causemetics,” and (2) agree to compensate Thrive with a licensing fee for TCI’s
   7   use of the THRIVE Mark. Id. TCI never responded. Id.
   8         In 2020, TCI added a separate “skincare” section to its website which
   9   displays most of the skincare products TCI sells. SUF ¶ 42. These include face and
  10   body cleansers, lotions, creams, moisturizers, sunscreen, lip balm, and face oils
  11   (collectively, “Infringing Skincare Products”) all of which directly overlap with
  12   Thrive’s THRIVE Registrations and the actual products sold by Thrive. SUF ¶¶ 3,
  13   43 (identifying product SKU numbers for the Infringing Skincare Products). TCI
  14   also purchases Google advertising keywords for terms including “Thrive,” “Thrive
  15   cleanser,” and “Thrive moisturizer”—none of which contain any reference to
  16   “Causemetics”—causing ads for TCI’s skincare products to appear together with
  17   Thrive’s skincare products in online search results. SUF ¶ 49. TCI has made other
  18   uses of “THRIVE” without “Causemetics” in ways that are likely to cause
  19   consumer confusion. In 2017, TCI began calling its headquarters the “Thrive Lab”
  20   in marketing and advertising. SUF ¶ 63. In 2018, TCI began referring to its
  21   followers as the “Thrive Tribe,” which is exactly the same name Thrive had used
  22   for its followers and customers since 2013. SUF ¶ 62.
  23         TCI’s intentional infringement has caused numerous examples of actual
  24   consumer confusion—including consumer reviews lauding TCI for creating the
  25   products they purchased from Thrive. SUF ¶¶ 55-58. That finding is supported by
  26   two consumer surveys and expert analysis showing consumers are likely to believe
  27   that the parties’ products come from the same source. SUF ¶ 59. Of 1,200
  28   participants, well over 50% were actually confused and believed Thrive’s and
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   1    TCI’s products originated from the same source or affiliated sources. Id.
   2   III.   Legal Standard
   3          Thrive must first show there is no genuine issue of material fact in evidence.
   4    Fed. R. Civ. P. 56(c). Once that burden is met, TCI “must present significant
   5    probative evidence tending to support [its] claim or defense.” Intel Corp. v.
   6    Hartford Accident & Indem. Co., 952 F.2d 1551, 1558 (9th Cir. 1991). If TCI fails
   7    to make this showing, Thrive is entitled to summary judgment. See id.
   8   IV.    Summary Judgment on Infringement
   9          There is no genuine dispute that would prevent summary judgment for
  10    Thrive on its Lanham Act claims. “Although disfavored in trademark infringement
  11    cases, summary judgment may be entered when no genuine issue of material fact
  12    exists.” Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625, 630 (9th Cir. 2005).
  13    For example, a Court in this District granted summary judgment of infringement
  14    where the plaintiff held a mark for MILKMAN on e-cigarette products and the
  15    defendant used THE MILK MAN mark on the same products, despite the parties
  16    using different product packaging. AOP Ventures, Inc. v. Steam Distribution, LLC,
  17    No. 15-CV-1586-VAP-KKX, 2016 WL 7336730, at *9 (C.D. Cal. Oct. 11, 2016)
  18    (order modified solely on unrelated damages grounds in 2016 WL 10586307 (C.D.
  19    Cal. Dec. 27, 2016)). Likelihood of confusion can be determined as a matter of law
  20    on summary judgment. DC Comics v. Towle, 989 F. Supp. 2d 948, 956 (C.D. Cal.
  21    2013) (“The legal conclusion that confusion is likely must rest on the particular
  22    facts of the case, but when all of the material facts have been determined, the
  23    ultimate determination of likelihood of confusion lies within the exclusive
  24    jurisdiction of the court.”). To prove trademark infringement, Thrive must show
  25    “(1) that it has a protectable ownership interest in the mark; and (2) that the
  26    defendant’s use of the mark is likely to cause consumer confusion.” Network
  27    Automation, Inc. v. Adv. Sys. Concepts, Inc., 638 F.3d 1137, 1144 (9th Cir. 2011).
  28    A claim for false designation of origin under § 1125(a), as well as related state law
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   1   claims, depend on the same facts and analysis. Brookfield Comms., Inc. v. W. Coast
   2   Ent. Corp., 174 F.3d 1036, 1046 n. 6 (9th Cir. 1999).
   3         A.     Thrive’s THRIVE Marks are Valid and Protectable
   4         An “incontestable” federal registration is “conclusive evidence of the validity
   5   of the registered mark and of the registration of the mark, of the registrant’s
   6   ownership of the mark, and of the registrant’s exclusive right to use the registered
   7   mark in commerce.” 15 U.S.C. § 1115(b). “If the mark at issue was federally
   8   registered and had become ‘incontestable’ … validity, legal protectability, and
   9   ownership are proved.” Ford Motor Co. v. Summit Motor Products, Inc., 930 F.2d
  10   277, 291 (3d Cir. 1991). Even a non-incontestable registration “provides ‘prima
  11   facie evidence’ of the mark’s validity and entitles the plaintiff to a ‘strong
  12   presumption’ that the mark is a protectable mark.” Zobmondo Entm’t, LLC v. Falls
  13   Media, LLC, 602 F.3d 1108, 1113-14 (9th Cir. 2010).
  14         It is undisputed that Thrive owns two federal registrations for THRIVE in
  15   standard characters in connection with skincare products. See SUF ¶¶ 14-16.
  16   The ’942 Registration is incontestable, meaning the validity of the THRIVE Mark
  17   and Thrive’s ownership thereof must be “conclusively presumed.” Cyclone USA,
  18   Inc. v. LL&C Dealer Servs., LLC, No. 03-CV-0992-AJW, 2007 WL 9662337, at *2
  19   (C.D. Cal. Nov. 8, 2007) (citing 15 U.S.C. § 1115(b)). Thrive also holds the ’303
  20   Registration, which creates the strong presumption of ownership. Those facts
  21   satisfy the first step of the infringement analysis.
  22         B.     The Sleekcraft Factors Demonstrate Likelihood of Confusion
  23         The second step is to determine “whether use of the plaintiff’s trademark by
  24   the defendant is likely to cause confusion or to cause mistake, or to deceive as to
  25   the affiliation, connection, or association of the two products.” Mattel, Inc. v.
  26   Walking Mountain Prods., 353 F.3d 792, 806-07 (9th Cir. 2003). In the Ninth
  27   Circuit, actionable forms of confusion include initial interest confusion, point of
  28   sale confusion, and post-sale confusion. Electropix v. Liberty Livewire Corp., 178
                                                                         PLAINTIFF’S MEMO ISO MTN.
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   1   F. Supp. 2d 1125, 1130 (C.D. Cal. 2001); ACI Int’l. Inc. v. Adidas-Salomon AG,
   2   359 F. Supp. 2d 918, 921 (C.D. Cal. 2005). The Sleekcraft factors guide this
   3   determination: (1) strength of plaintiff’s mark; (2) relatedness of the goods; (3)
   4   similarity of the marks; (4) evidence of actual confusion; (5) marketing channels
   5   used; (6) type of goods and the degree of care likely to be exercised by the
   6   purchaser; (7) defendant’s intent in selecting the mark; and the (8) likelihood of
   7   expansion of the product lines. AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348-49
   8   (9th Cir. 1979). The likelihood of confusion test is “fluid,” and it is not necessary to
   9   meet every factor. Surfvivor,406 F.3d at 631.
  10         “In the internet context, the three most important Sleekcraft factors in
  11   evaluating a likelihood of confusion are (1) the similarity of the marks, (2) the
  12   relatedness of the goods and services, and (3) the parties’ simultaneous use of the
  13   Web as a marketing channel.” Perfumebay.com Inc. v. eBay, Inc., 506 F.3d 1165,
  14   1173-74 (9th Cir. 2007); BDO Remit (USA), Inc. v. Stichting BDO, No. 11-CV-
  15   04054-MMM-CWX, 2012 WL 12895658, at *15 (C.D. Cal. Sept. 19, 2012) (these
  16   factors are most important “[i]n the context of parties that use the Internet to market
  17   their goods or services”). “When this controlling troika or internet trinity suggests
  18   confusion is likely, the other factors must weigh strongly against a likelihood of
  19   confusion to avoid the finding of infringement.” Perfumebay.com, 506 F.3d at
  20   1173-74. Under the Sleekcraft factors, the likelihood of confusion between the
  21   parties’ THRIVE-branded skincare products cannot reasonably be disputed.
  22                1.     The two marks are functionally identical
  23         “The greater the similarity between the two marks at issue, the greater the
  24   likelihood of confusion.” GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1206
  25   (9th Cir. 2000). In the Ninth Circuit, “[t]he following axioms define and delimit the
  26   similarity analysis: (1) similarity is best evaluated by appearance, sound, and
  27   meaning; (2) marks should be considered in their entirety and as they appear in the
  28   marketplace; and (3) similarities weigh more heavily than differences.” Pom
                                                                        PLAINTIFF’S MEMO ISO MTN.
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   1   Wonderful LLC v. Hubbard, 775 F.3d 1118, 1127-28 (9th Cir. 2014). The
   2   likelihood of confusion is high where a defendant’s mark incorporates the entirety
   3   of plaintiff’s mark and merely adds a suggestive or descriptive element to it. See
   4   Electropix, 178 F. Supp. 2d at 1129 (“When a junior user incorporates the entire
   5   arbitrary mark of another, addition of a suggestive or descriptive element is
   6   generally not sufficient to avoid confusion.”) (citing MCCARTHY ON
   7   TRADEMARKS, § 23:50 (“[T]he general rule is that a subsequent user may not
   8   avoid likelihood of confusion by appropriating another’s entire mark and adding
   9   descriptive or non-distinctive matter to it.”)); Golden Door, Inc. v. Odisho, 646
  10   F.2d 347, 351 (9th Cir. 1980) (holding that where parties sold overlapping services
  11   in overlapping markets, defendant’s addition of descriptive terms to “Golden Door”
  12   mark did not reduce the likelihood of confusion). For example, the Electropix court
  13   held the defendant’s additions of descriptive terms such as “Hyper TV” and
  14   “Network Services” to the plaintiff’s mark “Livewire” did not reduce likelihood of
  15   confusion. 178 F. Supp. 2d at 1129.
  16         Here, TCI incorporated Thrive’s entire THRIVE Mark, while adding only the
  17   element “Causemetics” to it. The PTO has already found the term “Causemetics” is
  18   merely descriptive, as a misspelling of “cosmetics,” and required TCI to file a
  19   disclaimer of that portion of its mark. SUF ¶ 32. Otherwise, TCI’s mark consists
  20   only of the term “THRIVE”—an arbitrary word that incorporates Thrive’s entire
  21   protected THRIVE Mark. Moreover, TCI’s domain name, thrivecausemetics.com,
  22   incorporates the entire THRIVE Mark, and online search results for “Thrive
  23   skincare,” “Thrive lotion,” and “Thrive moisturizer” display results for both TCI
  24   and Thrive—along with paid ads from TCI. SUF ¶¶ 5, 48-52. See Perfumebay.com,
  25   506 F.3d at 1174 (finding factor strongly favored plaintiff where defendant’s
  26   domain name incorporated plaintiff’s entire mark and search engine results
  27   displayed links to both parties’ sites). These facts weigh strongly in Thrive’s favor
  28   in the Sleekcraft analysis. See id.; Electropix, 178 F.2d at 1129.
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   1         To the extent TCI argues the parties’ product packaging looks different, that
   2   should be given minimal to no weight. Both THRIVE Registrations “are registered
   3   as word marks without any design elements, so any differences in how the marks
   4   are displayed is of limited significance.” Synoptek, LLC v. Synaptek Corp., 309 F.
   5   Supp. 3d 825, 837 (C.D. Cal. 2018) (emphasis added); see also Pom, 775 F.3d at
   6   1125 (reversing trial court’s finding of no likelihood of confusion that had been
   7   based heavily on product packaging differences). As the Ninth Circuit explained in
   8   Pom, “Pom Wonderful’s exclusive right to use the ‘POM’ mark covers all design
   9   variations of the word because ‘POM’ was registered as a standard character mark”
  10   making it “extremely broad, covering the word in all types of depictions.” 775 F.3d
  11   at 1125 (emphasis added); Perfumebay.com, 506 F.3d at 1174 (disregarding
  12   defendant’s logo where its mark incorporated plaintiff’s entire mark).
  13         The Synoptek Court in this District, granted summary judgment in the
  14   plaintiff’s favor on likelihood of confusion, giving minimal weight to the parties’
  15   marks being depicted with contrasting colors and different logos because “[t]he
  16   striking similarity of appearance and sound in the parties’ marks here outweighs
  17   differences in how the marks may be presented in the parties’ advertising.” 309 F.
  18   Supp. 3d at 837. Similarly, in AOP Ventures, the court relied on Pom and granted
  19   plaintiff summary judgment on infringement, disregarding distinct differences in
  20   the parties’ packaging and holding visual and aural similarities between the marks
  21   strongly supported finding a likelihood of confusion. 2016 WL 7336730, at *7.
  22         It is undisputed here that both parties’ packaging prominently features the
  23   THRIVE Mark in large font on the front where it is easily visible to consumers.
  24   SUF ¶¶ 4, 47. TCI’s packaging incorporates the entire THRIVE Mark, creating
  25   perfect aural and semantic similarity, and adds only the descriptive term
  26   “Causemetics”. This factor thus weighs heavily in favor of Thrive.
  27                2.    The parties’ skincare products are identical
  28         “Related goods are generally more likely than unrelated goods to confuse the
                                                                       PLAINTIFF’S MEMO ISO MTN.
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   1   public as to the producers of the goods.” GoTo.com, 202 F.3d at 1207. “[P]roducts
   2   which would be reasonably thought by the buying public to come from the same
   3   source if sold under the same mark” are considered related. Sleekcraft, 599 F.2d at
   4   348 n.10. “Moreover, when goods . . . are sold to the same class of purchasers, or
   5   similar in use and function, less similarity between the marks is needed when
   6   analyzing this factor.” Electropix, 178 F. Supp. 2d at 1129. Here, the parties’ sell
   7   identical products: skincare lotions, moisturizers, and cleansers. SUF ¶¶ 3, 43. The
   8   parties are direct competitors. SUF ¶¶ 3-5, 43-52. This factor thus weighs heavily in
   9   favor of likelihood of confusion. See Pom, 775 F.3d at 1127; AOP Ventures, 2016
  10   WL 7336730, at *7 (holding, where goods “are identical in kind and directly
  11   compete with one another,” “[t]his factor . . . weighs heavily in favor of” plaintiff).
  12                3.     Both parties are e-commerce companies
  13         Where both parties “utilize the internet as a marketing and advertising
  14   facility, courts have consistently recognized [that] as exacerbating the likelihood of
  15   confusion.” Perfumebay.com, 506 F.3d at 1174; see also Sleekcraft, 599 F.2d at 353
  16   (“Convergent marketing channels increase the likelihood of confusion.”). “[T]he
  17   Web, as a marketing channel, is particularly susceptible to a likelihood of confusion
  18   since, as it did in this case, it allows for competing marks to be encountered at the
  19   same time, on the same screen.” Perfumebay.com, 506 F.3d at 1174.
  20         Both Thrive and TCI are e-commerce companies that advertise almost
  21   exclusively online and sell competing skincare products through their online stores.
  22   SUF ¶¶ 5-6, 45-54. Their products appear side-by-side in online searches and online
  23   marketplaces like Google Shopping, Amazon, and eBay. Id. The majority of
  24   Thrive’s customers are women, and women comprise most of TCI’s customer base,
  25   though TCI sells to men too. SUF ¶¶ 10, 39. Because the parties both advertise and
  26   sell THRIVE-branded skincare products to the same pool of consumers through the
  27   same channels, this factor weighs heavily in favor of likelihood of confusion. See
  28   Perfumebay.com, 506 F.3d at 1174; Pom, 775 F.3d at 1130.
                                                                        PLAINTIFF’S MEMO ISO MTN.
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   1         The three most important factors for e-commerce-related confusion are in
   2   Thrive’s favor, meaning “the other factors must weigh strongly against a likelihood
   3   of confusion to avoid the finding of infringement.” Perfumebay.com, 506 F.3d at
   4   1173. But the other, less important, factors also support a likelihood of confusion.
   5                4.     Strength of mark factor favors likelihood of confusion
   6         The “‘strength’ of the trademark is evaluated in terms of its conceptual
   7   strength and commercial strength.” GoTo.com, Inc, 202 F.3d at 1206. “Marks can
   8   be conceptually classified along a spectrum of increasing inherent distinctiveness.”
   9   Id. “From weakest to strongest, marks are categorized as generic, descriptive,
  10   suggestive, and arbitrary or fanciful.” Id. The THRIVE Mark is arbitrary with
  11   relation to skincare products. “An arbitrary mark consists of common words
  12   arranged in an arbitrary way that is non-descriptive of any quality of the goods.”
  13   Official Airline Guides, Inc. v. Goss, 6 F.3d 1385, 1390 (9th Cir. 1993). Arbitrary
  14   marks are considered strong and “awarded maximum protection.” E. & J. Gallo
  15   Winery v. Gallo Cattle Co., 967 F.2d 1280, 1291 (9th Cir. 1992). “A mark’s
  16   conceptual strength depends largely on the obviousness of its connection to the
  17   good or service to which it refers.” Starbucks Corp. v. Glass, No. 2:16-CV-03937-
  18   ODW-PJW, 2016 WL 6126255, at *3 (C.D. Cal. Oct. 20, 2016) “The less obvious
  19   the connection, the stronger the mark, and vice versa.” Id.
  20         The word “thrive” means “to grow vigorously; to gain in wealth or
  21   possessions; to progress toward or realize a goal . . . .” SUF ¶ 17. “Thrive” is not
  22   descriptive of a particular quality of lotions or cleansers. Thrive’s skincare products
  23   do not help users grow, gain wealth, or achieve goals. Rather, “thrive” has nothing
  24   but an extremely broad, general relationship to flourishing or growing. That is not
  25   an “obvious” connection to skincare that would render the mark descriptive of
  26   Thrive’s goods. See, e.g., Henderson v. Lindland, No. 11-CV-01350-DDP-DTBX,
  27   2013 WL 1181957, at *4 (C.D. Cal. Mar. 21, 2013), aff’d, 602 F. App'x 391 (9th
  28   Cir. 2015) (holding, at summary judgment stage, that TEAM QUEST mark was
                                                                        PLAINTIFF’S MEMO ISO MTN.
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   1   arbitrary for mixed martial arts gyms, despite services relating to groups of
   2   fighters); Dreamwerks Prod. Group, Inc. v. SKG Studio, 142 F.3d 1127, 1131 (9th
   3   Cir. 1998) (DREAMWORKS arbitrary with regard to movie production services
   4   although such services arguably brought dreams to life). Because the word “thrive”
   5   has no obvious connection to skincare products, there is no genuine dispute of
   6   material fact as to the THRIVE Mark being arbitrary and receiving maximum
   7   protection under the Lanham Act, favoring a likelihood of confusion. See
   8   Henderson, 2013 WL 1181957, at *4.
   9         Further, “long and continuous use of a mark in the marketplace enhances its
  10   strength.” Electropix, 178 F. Supp. 2d at 1128. Thrive continuously used its
  11   THRIVE Mark in commerce for many years. SUF ¶ 1. Thrive is the only entity
  12   with trademark registrations for a trademark starting with the word “Thrive” on
  13   skincare lotions or cleansers; similar marks have been refused by the PTO,
  14   cancelled, or surrendered. SUF ¶ 18. That also strongly weighs in Thrive’s favor.
  15         In addition to forward confusion, this case involves a likelihood of reverse
  16   confusion, i.e., that consumers will believe Thrive’s products originate from TCI. In
  17   reverse confusion cases, courts analyze the commercial strength of the parties’
  18   marks and, in particular, “evaluate the strength of the junior user’s mark so as to
  19   gauge its ability to overpower the senior user’s mark.” Drain v. Newsted, 307 F.
  20   Supp. 2d 1116, 1124-25 (C.D. Cal. 2003). That means considering: “(1) the
  21   commercial strength of the junior user as compared to the senior user; and (2) any
  22   advertising or marketing campaign by the junior user that has resulted in a
  23   saturation in the public awareness of the junior user’s mark.” Id. at 1125.
  24         Here, TCI’s 2020 revenue was $168 million. SUF ¶ 65. The media has
  25   heavily covered TCI and its CEO, Ms. Bodnar. Id. As of July 2020, TCI was
  26   reportedly working with Goldman Sachs to assess an IPO or a sale to a larger
  27   company. Id. TCI spends millions of dollars—over 50% of its revenue—on
  28   advertising connecting the term THRIVE to TCI’s skincare products. SUF ¶ 64.
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   1   TCI frequently and regularly buys Google advertising keywords which contain
   2   “Thrive” and not “Causemetics”. SUF ¶ 49. TCI’s ads are widespread and include
   3   the THRIVE Mark in every ad. SUF ¶¶ 47-52. These facts also weigh heavily in
   4   favor of finding a likelihood of confusion.
   5                5.     There is substantial evidence of actual confusion
   6         Evidence of confusion “constitutes persuasive proof that future confusion is
   7   likely.” Thane Int’l v. Trek Bicycle Corp., 305 F.3d 894, 902 (9th Cir. 2002).
   8   However, “[f]ailing to prove instances of actual confusion is not dispositive . . .
   9   because difficulties in gathering evidence of actual confusion make its absence
  10   generally unnoteworthy.” Pom, 775 F.3d at 1131. Indeed, “[e]vidence of actual
  11   consumer confusion is not necessary for a finding of likelihood of confusion . . . .”
  12   Synoptek, 309 F. Supp. 3d at 839 (emphasis added).
  13         Thrive has evidence of actual consumer confusion between its products and
  14   TCI’s. For example, a customer who purchased Thrive sunscreen on Amazon gave
  15   a laudatory review of Thrive’s skincare products only to end it with: “Well done,
  16   Thrive Causemetics.” SUF ¶ 55. Another Amazon customer left a positive review
  17   for Thrive’s skincare moisturizer stating, “Thrive is an up and comer in the
  18   cosmetics field. Their mascara is phenomenal.” Id. Thrive does not sell mascara,
  19   but TCI does. Moreover, the similarity between the parties’ brands caused
  20   Walmart—a retail partner of Thrive—to erroneously list Thrive’s products as
  21   originating from TCI. SUF ¶ 56. And a potential branding partnership between
  22   Thrive and two professional athletes broke down because of confusion between
  23   Thrive and TCI. SUF ¶ 58. This evidence is “particularly potent” support for
  24   finding a likelihood of confusion. Synoptek, 309 F. Supp. 3d at 839.
  25         Moreover, courts regularly accept the results of consumer surveys as
  26   surrogate evidence of actual confusion. See Playboy Enters., Inc. v. Netscape
  27   Comm. Corp., 354 F.3d 1020, 1026 n.28 (9th Cir. 2004); see also Fiji Water Co. v.
  28   Fiji Mineral Water USA, LLC, 741 F. Supp. 2d 1165, 1179 (C.D. Cal. 2010)
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   1   (granting a preliminary injunction where survey evidence from over 400
   2   respondents showed a confusion level of 24.2%); 6 J. Thomas McCarthy, McCarthy
   3   on Trademarks & Unfair Competition § 32:188 (confusion levels over 50% are
   4   “persuasive evidence” of likely confusion).
   5         While it does not take an expert to determine that consumers are going to be
   6   confused between two skincare products both named THRIVE, Thrive’s marketing
   7   expert conducted two 600-person surveys comparing skincare products by Thrive to
   8   products by TCI and control products from third parties. The survey that included
   9   Thrive’s newer packaging design found a net 54.5% rate of confusion with TCI’s
  10   skincare product, and the survey that included Thrive’s older packaging design
  11   found a net 56.6% rate of confusion. SUF ¶ 59. That demonstrates actual confusion
  12   far exceeding the rates deemed “significant” by other courts, strongly supporting a
  13   likelihood of confusion. See, e.g., E.J. Gallo Winery v. Pasatiempos Gallo, 905 F.
  14   Supp. 1403, 1409 (E.D. Cal. 1994) (confusion rate between 18-20 percent
  15   demonstrated “significant level” of confusion).
  16                6.    Inexpensive goods and degree of consumer care favor Thrive
  17         “[T]he standard of care to be exercised by the reasonably prudent purchaser
  18   will be equal to that of the least sophisticated consumer.” Goto.com, 202 F.3d at
  19   1209. The reasonably prudent purchaser “standard includes the ignorant and the
  20   credulous.” Sleekcraft, 599 F.2d at 353. “Unlike purchasers of expensive goods—
  21   whom we expect to be more discerning and less easily confused—purchasers of
  22   inexpensive goods are likely to exercise less care, thus making confusion more
  23   likely.” Pom, 775 F.3d at 1127. Less care is exercised where products are fungible
  24   and not unique. Electropix, 178 F. Supp. 2d at 1131. And “virtually no amount of
  25   consumer care can prevent confusion where two entities have the same name.” Id.
  26         Here, the parties’ brands are centered on the same name—THRIVE—
  27   meaning “[i]t is irrational to expect that even the most sophisticated consumer will
  28   exercise the kind of scrupulous examination” to discern the difference. Id. Further,
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   1   the skincare products at issue are inexpensive, ranging between $10 and $60. SUF ¶
   2   46. While consumers do exercise some care in choosing skincare products, the
   3   products are fungible and can be purchased off the shelf with no prior knowledge.
   4   Cf. Electropix, 178 F. Supp. 2d at 1131 (finding a high degree of care where parties
   5   offered “specialized, custom-tailored technical and creative services to
   6   sophisticated customers,” but holding this factor still weighed in plaintiff’s favor
   7   where names were nearly identical). These facts strongly support finding a
   8   likelihood of confusion. See Stark v. Diageo Chateau & Estate Wines Co.,907
   9   F.Supp.2d 1042, 1065 (N.D. Cal. 2012) (finding wine purchasers exercised low
  10   degree of care, supporting likelihood of confusion).
  11                7.     TCI knew of THRIVE Marks before it launched skincare
  12         The “defendant’s intent” factor favors the plaintiff where the alleged
  13   infringer used or adopted its mark with knowledge, actual or constructive, that it
  14   was another’s trademark. Brookfield, 174 F.3d at 1059. Specific intent to confuse
  15   consumers is not required to find infringement. JL Beverage Co., LLC v. Jim Beam
  16   Brands Co., 828 F.3d 1098, 1112 (9th Cir. 2016) (holding “absence of malice is no
  17   defense to trademark infringement.”). However, courts have inferred intent to
  18   confuse when a defendant begins using its infringing mark with prior knowledge of
  19   plaintiff’s mark or continues using a mark after it became aware of the plaintiff’s
  20   registered mark. See Synoptek, 309 F. Supp. 3d at 841 (finding this factor weighed
  21   in favor of likelihood of confusion where defendant’s founders continued to use the
  22   accused mark after having “constructive or actual knowledge of the [plaintiff’s]
  23   mark” from PTO office actions); Brooklyn Brewery Corp. v. Black Ops Brewing,
  24   Inc., 156 F. Supp. 3d 1173, 1184 (E.D. Cal. 2016) (factor favors plaintiff where
  25   “[e]ven though the injunctive record supports Defendant’s assertion that it selected
  26   its mark in good faith, Defendant continued using its mark after it became aware of
  27   Plaintiff’s registered mark.”).
  28         Whether TCI chose the name “Thrive” in 2014 for its false eyelashes product
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   1   without knowing of Thrive’s mark is irrelevant. The question is whether TCI knew
   2   of Thrive and its THRIVE Mark in 2018, when TCI moved from color cosmetics
   3   into the same market as Thrive—skincare. See SunEarth, Inc. v. Sun Earth Solar
   4   Power Co., 846 F. Supp. 2d 1063, 1080 (N.D. Cal. 2012). At that time, there is no
   5   dispute that TCI knew of Thrive, its mark, and the THRIVE Registrations. SUF ¶¶
   6   20-22. Indeed, TCI had that knowledge no later than 2015. Id. When TCI sold only
   7   makeup, it argued to Thrive and the PTO that the parties’ products were unrelated
   8   and thus there was no likelihood of consumer confusion. SUF ¶¶ 24, 29. There was
   9   no similar excuse—as TCI well knew—when TCI moved into the skincare market
  10   in 2018. TCI could have decided to sell skincare products under a different name,
  11   but it made the knowing choice to infringe instead. Because TCI knew of Thrive
  12   and its trademark registrations when TCI expanded into the relevant skincare
  13   market, this factor supports Thrive in finding a likelihood of confusion. See
  14   Synoptek, 309 F. Supp. 3d at 841; Brooklyn Brewery, 156 F. Supp. 3d at 1184.
  15                8.    Expansion of product lines favors Thrive
  16         Where “the parties already compete to a significant degree because they sell
  17   related products and use similar marketing channels, this factor is relatively
  18   unimportant to the likelihood of confusion analysis.” Fiji Water, 741 F. Supp. 2d at
  19   1183. Here, the parties already directly compete in the skincare market. Thrive has
  20   concrete plans to further expand its offerings in the personal grooming market, and
  21   TCI has continuously expanded its skincare line throughout 2020 and 2021. SUF ¶¶
  22   42-44. The parties will thus continue to be direct competitors and there is potential
  23   for more direct competition in the future, which weighs in favor of finding a
  24   likelihood of confusion. See Stark, 907 F. Supp. 2d at 1064.
  25                9.    Totality of the factors strongly favors Thrive
  26         In AOP Ventures, a Court in this District granted summary judgment of
  27   infringement where its “review of the Sleekcraft factors reveals six factors weigh in
  28   favor of a likelihood of consumer confusion and the remaining two factors are
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   1   neutral.” 2016 WL 7336730, at *9. Similarly, in Synoptek, another Court in this
   2   District granted summary judgment for plaintiff on likelihood of confusion where
   3   “the factors of the similarity of the marks, the proximity of the goods, and the
   4   strength of [plaintiff’s] mark, are particularly probative of a likelihood of
   5   confusion” and the PTO, like here, refused the defendant’s attempt to register its
   6   accused mark due to a conflict with plaintiff’s mark. 309 F. Supp. 3d at 842.
   7         Moreover, the finding is strong on the three factors courts have found most
   8   important in e-commerce: similarity of the marks, relatedness of the goods, and use
   9   of similar marketing channels. See GoTo.com, 202 F.3d at 1205. Therefore, the
  10   Court should find there is no genuine dispute of material fact as to likelihood of
  11   confusion. And, explained above, Thrive holds an incontestable registration in the
  12   THRIVE Mark, which is conclusive evidence of the mark’s validity and Thrive’s
  13   ownership. Even putting the incontestable registration aside, Thrive has a second
  14   senior registration as well as superior common law rights to TCI. Accordingly, the
  15   Court should grant summary judgment in Thrive’s favor on its trademark
  16   infringement claim, its federal unfair competition claim, and its related state law
  17   claims that rely on the same analysis. See AOP Ventures, 2016 WL 7336730, at *9.
  18   V.    Summary Judgment on Willfulness is Warranted
  19         The undisputed facts show TCI’s infringement of the THRIVE Registrations
  20   was willful. “Willfulness and bad faith require a connection between a defendant's
  21   awareness of its competitors and its actions at those competitors’ expense.” Lindy
  22   Pen Co. v. Bic Pen Corp., 982 F.2d 1400, 1406 (9th Cir. 1993). “Use of an
  23   infringing mark, in the face of warnings about potential infringement, is strong
  24   evidence of willful infringement.” Razor USA LLC v. Vizio, Inc., No. 14-CV-
  25   01586S-JOJ-CGX, 2015 WL 12656941, at *6 (C.D. Cal. Oct. 19, 2015) (quoting E.
  26   & J. Gallo Winery v. Consorzio del Gallo Nero, 782 F.Supp. 472, 475 (N.D. Cal.
  27   1992) (holding defendant “was on notice that there could be a likelihood of
  28   confusion” when Canadian trademark officials cited plaintiff’s mark as a reason for
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   1   denying defendant’s trademark application)); see also Synoptek, LLC v. Synaptek
   2   Corp., No. SA-CV-1601838-CJC-JCGX, 2018 WL 3359017 (“Synoptek II”), at *9
   3   (C.D. Cal. June 4, 2018) (“Synaptek’s blatant use of the ‘Synaptek’ mark in spite of
   4   [multiple] PTO denials provides strong evidence of willful infringement.”).
   5         TCI knew of Thrive and the THRIVE Registration by 2015 when Thrive’s
   6   registration came back to TCI in its clearance search for its own trademark. SUF ¶
   7   20. TCI’s founder attempted to get Thrive’s permission to use the mark in 2016,
   8   while not revealing TCI’s plans to expand into skincare. SUF ¶ 26. TCI even
   9   insisted in a 2017 letter that there was no legal conflict between Thrive and TCI
  10   because TCI sold makeup and did not sell skincare products. SUF ¶ 29. Based on
  11   that written statement, TCI actually knew that by moving into the skincare market,
  12   it would be infringing Thrive’s trademarks. TCI tried again in 2019 to get Thrive’s
  13   permission for TCI to use the THRIVE Mark for its upcoming major skincare line
  14   expansion the following year. SUF ¶ 40. There can be no dispute that TCI knew of
  15   its competitor Thrive’s rights, that it knew it needed permission to use those rights,
  16   that it knew it didn’t have that permission, and that it proceeded to use the THRIVE
  17   Mark on directly competitive goods.
  18         Moreover, like the defendants in Consorzio and Synoptek II, TCI used the
  19   THRIVE Mark in the face of numerous warnings about infringement. The PTO
  20   rejected TCI’s trademark application in 2015 on the ground that TCI’s use of
  21   THRIVE CAUSEMETICS could cause a likelihood of confusion with the THRIVE
  22   Mark. SUF ¶ 22. When TCI tried again in a second application, the PTO rejected it
  23   for the same reason in August 2018. SUF ¶ 31. As recently as July 28, 2021, the
  24   PTO, for a third time, issued an Office Action rejecting TCI’s THRIVE
  25   CAUSEMETICS application for a “likelihood of confusion” with exactly two
  26   trademarks on the trademark registry: Thrive’s ’942 Registration and Thrive’s ’303
  27   Registration—the two THRIVE Registrations asserted by Thrive in this case. SUF ¶
  28   35. There is thus “no doubt but that [TCI] was on notice that there could be a
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   1   likelihood of confusion caused by its use of the “[THRIVE]” mark.” Consorzio,
   2   782 F.Supp. at 475.
   3         Importantly, TCI overcame the 2015 PTO rejection by arguing that TCI’s
   4   color cosmetics were in a different category of goods from Thrive’s skincare
   5   products. SUF ¶¶ 24-25. That argument could no longer apply when TCI expanded
   6   into skincare beginning in 2018. See Synoptek II, 2018 WL 3359017, at *10
   7   (holding defendant’s belief it was not infringing was not reasonable “because . . .
   8   the PTO’s decision directly contradicted this belief.”). Since TCI successfully
   9   argued to the PTO in 2016, for its benefit, that there was no confusion because it
  10   did not sell skincare products, TCI could not possibly have then moved into the
  11   skincare market in 2018 believing there would be no likelihood of confusion.
  12         Also, like the defendant in Consorzio, TCI received a cease-and-desist letter
  13   in 2017 from Thrive asking it to stop use of the THRIVE name, a request that TCI
  14   refused. SUF ¶ 29; Consorzio, 782 F.Supp. at 475. TCI responded to that letter
  15   arguing its color cosmetics were an entirely different product line from Thrive’s
  16   skincare products. Id. Thrive relied on this assertion from TCI. Id. But again, that
  17   argument no longer carried force when TCI started selling skincare products in
  18   2018. While TCI may have had reason to believe it did not infringe when selling
  19   color cosmetics, that belief could not have been reasonable when applied to its later
  20   sale of skincare products. In Synoptek II, the court found willful infringement where
  21   “Synaptek’s continued use of ‘Synaptek’ demonstrates an indifference to
  22   Synoptek’s trademark rights and a willingness to determine unilaterally, in spite of
  23   the PTO’s denials, that Synoptek’s rights in its marks should be ignored.” Synoptek
  24   II, 2018 WL 3359017, at *10; see also Bellagio Jewelry, Inc. v. Croton Watch Co.,
  25   No. CV 06-6672ODWRZX, 2008 WL 3905895, at *10 (C.D. Cal. Aug. 20, 2008).
  26   TCI acted in an identical fashion—it ignored the PTO denials, ignored Thrive’s
  27   refusal to grant permission, ignored Thrive’s cease-and-desist letter, and proceeded
  28   to sell skincare products in direct competition with knowledge of Thrive, the
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   1   THRIVE Mark, and the THRIVE Registrations. Those facts are undisputed. There
   2   is thus no genuine dispute with regard to willful infringement, and Thrive is entitled
   3   to summary judgment on that issue.
   4   VI.   Disgorgement of TCI’s Profits is Proper Under § 1117(a)
   5         A plaintiff who proves trademark infringement is entitled “to recover []
   6   defendant’s profits . . . .” 15 U.S.C. § 1117(a). Recent Supreme Court precedent
   7   clarified that a finding of willful infringement is not a prerequisite to ordering
   8   disgorgement of a defendant’s profits. Romag Fasteners, Inc v. Fossil, Inc., 140 S.
   9   Ct. 1492, 1497 (2020). “Fairness also supports disgorgement of profits so that
  10   Defendant does not profit from its unlawful infringement.” Monster Energy Co. v.
  11   Integrated Supply Network, LLC, No. ED-CV-17548-CBM-RAOx, 2021 WL
  12   1521981, at *2 (C.D. Cal. Apr. 12, 2021) (citing Playboy Enters., Inc. v. Baccarat
  13   Clothing Co., 692 F.2d 1272, 1275 (9th Cir. 1982) (“Any other remedy” besides
  14   disgorgement of profits earned from the infringing activity “results in the
  15   defendants being unjustly enriched.”)).
  16         As explained, the undisputed facts show that TCI intentionally expanded into
  17   the skincare market in direct competition with Thrive in 2018, with knowledge that
  18   that expansion was likely to infringe Thrive’s registered trademarks. The evidence
  19   thus fully supports that TCI had mens rea to infringe, which remains “a highly
  20   important consideration in determining whether an award of profits is appropriate.”
  21   Romag, 140 S. Ct. at 1497. Further, without an award of disgorgement, TCI would
  22   reap the benefits of knowingly infringing Thrive’s trademark rights for years.
  23   Disgorgement is therefore proper. See Playboy, 692 F.2d at 1275 (“The practical
  24   reality of this decision may be summarized in one question: Would a profit seeking
  25   businessperson, not unwilling to violating federal law, pay ten cents to make one
  26   dollar? If the answer is “yes” then the trial court's decision did not follow this
  27   court’s clear mandate . . . to make willful trademark infringement unprofitable.”).
  28   For these reasons, there is no genuine dispute of material fact over Thrive’s
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   1   entitlement to disgorgement of TCI’s profits.
   2         A.     TCI Has the Burden of Proving Deductible Expenses
   3         “In assessing profits the plaintiff shall be required to prove defendant’s sales
   4   only; defendant must prove all elements of cost or deduction claimed.” 15 U.S.C. §
   5   1117(a). “Once the plaintiff demonstrates gross profits, they are presumed to be the
   6   result of the infringing activity” and “[t]he defendant thereafter bears the burden of
   7   showing which, if any, of its total sales are not attributable to the infringing
   8   activity, and, additionally, any permissible deductions for overhead.” Lindy Pen,
   9   982 F.2d at 1408. In the Ninth Circuit, a defendant may only deduct costs if it
  10   proves such costs were “of actual assistance” in the production, distribution, or sale
  11   of the infringing product. Kamar Int’l, Inc. v. Russ Berrie & Co., 752 F.2d 1326,
  12   1332 (9th Cir. 1984). A “pure allocation” of overhead costs based on percentage of
  13   revenue is not permissible and indeed has been “specifically rejected” by the Ninth
  14   Circuit. See Folkens v. Wyland, No. C-01-1241 EDL, 2002 WL 1677708, at *5
  15   (N.D. Cal. July 22, 2002) (citing Frank Music Corp. v. Metro-Goldwyn-Mayer,
  16   Inc., 772 F.2d 505, 516 (9th Cir. 1985) (holding defendants had not met the burden
  17   of proving deductible costs “when they introduced evidence of their total overhead
  18   costs allocated on a reasonable basis” because “[t]hat is not the law of this
  19   circuit.”)). If the defendant fails to adequately prove such costs, the trademark
  20   owner is entitled to all gross profits. Lindy Pen, 982 F.2d at 1408.
  21         B.     Parties Agree on Revenues and Cost of Goods; TCI Failed to Meet
                    Burden to Deduct Any Other Expenses
  22

  23         Here, there is no dispute as to gross revenues TCI earned on sales of
  24   Infringing Skincare Products or direct expenses, including cost of goods sold,
  25   relating to those products. SUF ¶ 66. Total profits, equaling revenue minus direct
  26   expenses, are $21,524,380. Id. With this evidence, Thrive has carried its burden of
  27   proving TCI’s profits on infringing sales. See 15 U.S.C. § 1117(a).
  28         TCI has not come close to meeting its burden of showing any other expenses
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   1   are properly deducted. Rather than calculating actual overhead expenses
   2   attributable to each product, TCI has merely allocated a percentage of its total
   3   expenses to a product based on the percentage of revenue that product produced.
   4   SUF ¶¶ 68-70. That is exactly the type of “pure allocation” rejected in Folkens and
   5   Frank. Folkens, 2002 WL 1677708, at *5; Frank, 772 F.2d at 516 (explaining
   6   “defendants offered no evidence of what costs were included in general categories
   7   such as ‘general and administrative expenses,’ nor did they offer any evidence
   8   concerning how these costs contributed to the [infringing product].”). TCI has
   9   completely failed to prove its indirect costs were “of actual assistance” in the
  10   production, distribution, or sale of the Infringing Skincare Products. See Kamar,
  11   752 F.2d at 1332. Indeed, TCI testified that grouped in the “Other Costs” category
  12   were clearly non-deductible costs such as TCI’s charitable donations, litigation
  13   expenses for a class action lawsuit, and all taxes it has ever paid. SUF ¶ 69.
  14   Therefore, TCI has failed to create any genuine dispute as to deductible indirect
  15   costs, and the Court should grant summary judgment in Thrive’s favor and order
  16   that TCI disgorge $21,524,380 in profits. See 15 U.S.C. § 1117(a).
  17 VII.    An Award of Corrective Advertising Damages is Appropriate
  18         “An award of the cost of corrective advertising, like compensatory damage
  19   awards in general, is intended to make the plaintiff whole . . . by allowing the
  20   plaintiff to recover the cost of advertising undertaken to restore the value plaintiff’s
  21   trademark has lost due to defendant’s infringement.” Adray v. Adry-Mart, Inc., 76
  22   F.3d 984, 988 (9th Cir. 1995). “Recovery of both past and future corrective
  23   advertising costs is permitted.” Marketquest Grp., Inc. v. BIC Corp., No. 11-CV-
  24   618-BAS (JLB), 2018 WL 1756117, at *5 (S.D. Cal. Apr. 12, 2018) (citing Big O
  25   Tire Dealers, Inc. v. Goodyear Tire & Rubber Co., 561 F.2d 1365, 1374-76 (10th
  26   Cir. 1977) (approving a corrective advertising damages reasonably equivalent to the
  27   infringing advertising campaign)). Corrective advertising damages are proper in
  28   forward and reverse confusion cases. See Marketquest, 2018 WL 1756117, at *5
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   1   (finding where defendant “knowingly used [plaintiff’s] marks in a manner that
   2   saturated the market with a false impression of association, . . . compensatory
   3   corrective advertising damages would be conceivably appropriate to counteract
   4   [defendant’s] infringing advertising campaigns . . . .”). The Ninth Circuit has
   5   approved corrective damages in the amount of 25% of a defendant’s advertising
   6   budget, consistent with the Federal Trade Commission’s “rule requiring businesses
   7   engaged in misleading advertising to spend 25% of their budget on corrective
   8   advertising . . . .” Id.; Big O Tire, 561 F.2d at 1375-76 (adopting 25% rule); Ardray,
   9   76 F.3d at 989 (approving of 25% rule).
  10         Here, Thrive has been particularly damaged by TCI’s massive advertising
  11   spend. TCI has flooded the exact online channels that Thrive needs to use to
  12   advertise the THRIVE brand with TCI’s advertisements for its own confusingly
  13   similar THRIVE skincare products. SUF ¶¶ 5, 48-54. This is especially salient with
  14   online searches, such as Google Shopping, where even a search for “Mens Thrive
  15   Natural Care”—the most targeted search a consumer could do for Thrive’s
  16   company and product that should exclude any TCI results—instead returns results
  17   for TCI’s THRIVE skincare products. SUF ¶¶ 5, 48-50. Thrive must spend an
  18   amount equivalent to TCI’s advertising spend in the same channels in order to
  19   correct this saturation of the advertising channels knowingly caused by TCI.
  20         Thrive’s damages expert has analyzed TCI’s relevant advertising spend on
  21   Infringing Skincare Products and calculated corrective advertising damages based
  22   on the approved 25% rule. Corrective advertising damages total $5,796,527. SUF ¶
  23   71. Thrive is entitled to those damages as a matter of law, and the Court should
  24   award corrective advertising damages to Thrive in that amount.
  25 VIII.   The Court Should Grant a Permanent Injunction
  26         Given the undisputed evidence, the Court can and should grant an injunction
  27   to permanently bar TCI from selling Infringing Skincare Products. 15 U.S.C. §
  28   1116(a). Because Thrive has proven infringement, it is entitled a presumption of
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   1   irreparable harm pursuant to the recent Trademark Modernization Act of 2020 that
   2   changed the standard for permanent injunctions in the favor of trademark owners.
   3   See id. (“A plaintiff seeking any such injunction shall be entitled to a rebuttable
   4   presumption of irreparable harm upon a finding of a violation identified in this
   5   subsection in the case of a motion for a permanent injunction”). The undisputed
   6   facts further establish that Thrive has suffered irreparable harm in the loss of
   7   control over its brand, goodwill, and reputation. “The loss of control over one’s
   8   trademarks, reputation, and goodwill is ‘a quintessentially irreparable injury’.”
   9   Vineyard House, LLC v. Constellation Brands U.S. Ops., Inc., No. 4:19-CV-01424-
  10   YGR, 2021 WL 254448, at *14 (N.D. Cal. Jan. 26, 2021) (quoting McCarthy on
  11   Trademarks, § 30:47.70 (“A likelihood of damage to reputation is by its nature
  12   ‘irreparable.’ Like trying to un-ring a bell, trying to ‘compensate’ after the fact for
  13   damage to business goodwill and reputation cannot constitute a just or full
  14   compensation.”)); see also Ossur hf v. Manamed Inc., 331 F. Supp. 3d 1005, 1017
  15   (C.D. Cal. 2017) (“By borrowing [plaintiff]’s mark, Defendants impair [plaintiff]’s
  16   control over its reputation”); Fiji Water, 741 F. Supp. 2d at 1183 (“If VITI
  17   continues to introduce its infringing product into the marketplace, FIJI will
  18   undoubtedly have great difficulty maintaining and restoring its reputation and
  19   goodwill with the public, many of whom are already confused.”). The Court should
  20   therefore grant a permanent injunction in Thrive’s favor.
  21                                         Conclusion
  22         TCI blatantly used the THRIVE Mark in knowing disregard of Thrive’s
  23   trademark rights, moving into skincare in direct competition with Thrive after two
  24   PTO refusals based on Thrive’s registrations, a cease-and-desist letter, and Thrive’s
  25   founder expressly denying a request for permission to use the mark in TCI’s
  26   business. The undisputed evidence supports summary judgment on infringement,
  27   willfulness, disgorgement, corrective advertising, and a permanent injunction.
  28   ///
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   1    DATED: August 6, 2021                  Respectfully submitted,
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                                                   Natural Care
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